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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION
                                www.flmb.uscourts.gov

IN RE:                                                     CASE NO.: 3:13-bk-01779-JAF
                                                           Chapter 11
RAHBAR ROBERT TALEBLI

      Debtor.
______________________________________/

RAHBAR ROBERT TALEBLI                                      Adv. No. 3:20-ap-00101-JAF

         Plaintiff

v.

FAIRPORT ASSET MANAGEMENT REO, LLC

         Defendant

________________________________________/

                        CORPORATE OWNERSHIP STATEMENT


         Pursuant to Fed. R. Civ. P. 7.1, Defendant, FAIRPORT ASSET MANAGEMENT REO,

LLC, by and through its undersigned counsel, hereby states as follows:

         1.      FAIRPORT ASSET MANAGEMENT REO, LLC states that there is no parent

corporation or no public corporation that owns more than 10% of its stock.

         Dated this 30th day of November 2020

                                     Respectfully submitted,

                                     KELLEY, FULTON & KAPLAN, P.L.
                                     Attorneys for Fairport Asset Management REO, LLC
                                     1665 Palm Beach Lakes Blvd., The Forum - Suite 1000
                                     West Palm Beach, Florida 33401
                                     Tel: (561) 491-1200
                                     Fax: (561) 684-3773

                                     By: __/s/ Craig I. Kelley__________
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                                               Craig I. Kelley, Esquire
                                               Fla. Bar No. 782203

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via
electronic mail to the parties registered to receive notice via CM/ECF or U.S. mail to the parties
below this 30th day of November 2020.

                                       KELLEY, FULTON & KAPLAN, P.L.
                                       Attorneys for Branch Banking & Trust Company n/k/a Truist
                                       1665 Palm Beach Lakes Blvd., The Forum - Suite 1000
                                       West Palm Beach, Florida 33401
                                       Tel: (561) 491-1200
                                       Fax: (561) 684-3773

                                       By: __/s/ Craig I. Kelley__________
                                              Craig I. Kelley, Esquire
                                              Fla. Bar No. 782203

Mailing Information for Case 3:20-ap-00101-JAF
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service
for this case.
   •   Bryan K. Mickler court@planlaw.com,
       tjking@planlaw.com,bkmickler@planlaw.com;cmickler@planlaw.com;mmiller@planla
       w.com
Manual Notice List
The following is the list of parties who are not on the list to receive email notice/service for this
case (who therefore require manual noticing/service). You may wish to use your mouse to select
and copy this list into your word processing program in order to create notices or labels for these
recipients.
